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        9

      10                                     UNITED STATES DISTRICT COURT

      11                                   NORTHERN DISTRICT OF CALIFORNIA

      12                                         SAN FRANCISCO DIVISION

      13

      14    CHRISTOPHER MCKAY, TERRY MYERS,                      Case No.: 23-cv-00522-EMC
            and DAWN OUTLAW, as individuals, on
      15    behalf of themselves, the general public, and        Hon. Edward M. Chen
            those similarly situated,
      16
                                                                 DECLARATION OF DAWN OUTLAW
                             Plaintiffs,
      17

      18                     v.

      19
            SAZERAC COMPANY, INC.,
      20
                             Defendant.
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                                           OUTLAW DECL.; CASE NO. 3:23-CV-00522-EMC
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        1            I, Dawn Outlaw, hereby declare as follows:

        2            1.      I have personal knowledge of the facts stated herein and, if called upon to testify, I could

        3   and would competently do so.

        4            2.      I purchased Fireball Malt from Chevron gas stations in Redding, California and Valero

        5   gas stations in Pacheco, California between January 11, 2021 and the present. Prior to making the

        6   purchases, I was generally familiar with the label of Fireball Whisky.

        7            3.      I made my purchases in reliance on the Fireball Malt label. Based on the labeling of the

        8   bottles, I falsely believed that I was purchasing a full single serving of Fireball Whisky, when I was

        9   instead purchasing a one-sixth serving of Fireball Malt. Because I believed that the products I purchased

      10    were Fireball Whisky, I believed that they had the attributes of Fireball Whisky. That is, I incorrectly

      11    believed that the Fireball Malt that I purchased was whisky-based and had the alcohol content of a single

      12    serving of whisky.

      13             4.      I would not have purchased Fireball Malt, or at a minimum, would have paid less for

      14    Fireball Malt had I known that it was a malt-based beverage with half the alcohol content of Fireball

      15    Whisky.

      16             I declare under penalty of perjury under the laws of the United States that the foregoing is true

      17    and correct.

      18             DATED: 5/15/2024

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                                                                  Dawn Outlaw
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                                               OUTLAW DECL.; CASE NO. 3:23-CV-00522-EMC
